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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 JOSE RIVERA,

                 Petitioner,

            v.                                                     20-CV-824S
                                                                   13-CR-83S (6)
 UNITED STATES OF AMERICA,                                         ORDER

            Respondent.
___________________________________

        Pro se Petitioner, Jose Rivera, filed a Motion to Vacate, Set Aside or Correct his

Sentence under 28 U.S.C. § 2255. Docket Item 681. 1 As he alleges in more detail, Rivera

claims that his conviction in this Court was unconstitutionally or unlawfully obtained. Id.


                                                ORDERS


        IT HEREBY IS ORDERED, in accordance with Rules 4 and 5 of the Rules Governing

§ 2255 Cases in the United States District Courts, that Respondent shall file and serve an

answer to the Petition no later than 45 days from the entry date of this Order. The Answer

shall respond to the allegations in the Petition and shall state whether Petitioner has used

any other available federal remedies including any prior post-conviction motions under these

rules or those existing before the adoption of the present rules, and whether Petitioner

received a post-conviction evidentiary hearing in a federal court. Further, the Answer shall

state whether Petitioner appealed the conviction, and what ruling, if any, the United States

Court of Appeals has made on the appeal; and it is further


        1Rivera filed his motion using the form for filing a Motion for Leave to File a Second or Successive
Motion to Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255 (h). This Court properly
construes the motion as a Motion to Vacate, Set Aside of Correct Sentence under 28 U.S.C. § 2255.
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          ORDERED, that in addition to the Answer, Respondent also file and serve by the

above date a memorandum of law addressing each of the issues raised in the Petition and

including citations of relevant supporting authority; and it is further

          ORDERED, that within 20 days of receipt of the Answer, Petitioner may file a written

reply to the Answer and memorandum of law; and it is further

          ORDERED, that within 20 days of the entry date of this Order, Respondent may file a

motion for a more definite statement or a motion to dismiss the Petition, accompanied by

appropriate exhibits that demonstrate that an answer to the Petition is unnecessary; and it is

further

          ORDERED, that the Clerk of Court is directed to serve a copy of the Petition, together

with a copy of this Order, upon the United States Attorney for the Western District of New

York, 138 Delaware Avenue, Buffalo, New York 14202; and it is further

          ORDERED, that all docketing for this action shall be made in the related criminal action

13-CR-83S (6).

          THE PETITIONER MUST FORWARD A COPY OF ALL FUTURE PAPERS AND

CORRESPONDENCE TO THE UNITED STATES ATTORNEY.

          SO ORDERED.

Dated:           July 7, 2020
                 Buffalo, New York


                                                            s/William M. Skretny
                                                           WILLIAM M. SKRETNY
                                                      UNITED STATES DISTRICT JUDGE




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